                                                                                                                                        Case 4:18-cv-07542-HSG Document 41 Filed 08/01/19 Page 1 of 2



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                                                                                                                                                          UNITED STATES DISTRICT COURT
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                                                                                                                                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                              15   LAWRENCE HALEY, as an individual,                Case No. 4:18-CV-07542-HSG
                                                                                                                              16           Plaintiff,
                                                                                                                                                                                    PLAINTIFF’S NOTICE OF MOTION
                                                                                                                              17   v.                                               AND MOTION TO STRIKE
                                                                                                                                                                                    DEEFNDANT’S
                                                                                                                              18   CLARK CONSTRUCTION GROUP-
                                                                                                                                   CALIFORNIA, et al.,
                                                                                                                              19                                                    Date: August 14, 2019
                                                                                                                                           Defendants.                              Time: 9:00 a.m.
                                                                                                                              20                                                    Ctrm: F, 15th Floor
                                                                                                                                                                                    Judge: Hon. Jacqueline Scott Corley
                                                                                                                              21
                                                                                                                              22
                                                                                                                              23
                                                                                                                              24           On July 31, 2019, Defendant Clark Construction, through its counsel, filed
                                                                                                                              25
                                                                                                                                   a Supplemental Declaration in Support of its Motion to Compel Independent
                                                                                                                              26
                                                                                                                                   Medical Examination of Plaintiff (Dkt. No. 35).
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                                                                                                                                                 Plaintiff’s Motion to Strike Defendant’s Supplemental Declaration
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                                                                                                                               1          Because the aforementioned filing is both untimely and in clear violation

                                                                                                                               2   of the Court’s order (Dkt. No. 33) that no reply brief shall be filed, Plaintiff
                                                                                                                               3   moves for the Court to order that this filing be stricken from the record and not
                                                                                                                               4
                                                                                                                                   considered for any purpose.
                                                                                                                               5
                                                                                                                                          Defendant has provided no justification for its untimeliness.
                                                                                                                               6
                                                                                                                                   Additionally, Defendant did not request an extension of time, nor did they
                                                                                                                               7
                                                                                                                               8   request permission to file late.

                                                                                                                               9          As such, Defendant’s Supplemental Declaration (Dkt. No. 35) should be

                                                                                                                              10   stricken as untimely.
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                                                                                                                              12   DATED: August 1, 2019
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                                                                                                                                                                                       By: /s/Adante D. Pointer
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                                                                                                                                                                                          LAWRENCE HALEY
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                                                                                                                                               Plaintiff’s Motion to Strike Defendant’s Supplemental Declaration
